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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
                                            Case №: 8:23-cv-00223-MSS-MRM
JOSIAH COLON; BRANDON KLING;
ERIC MELE; WILLIAM MARTIN;
and 2ND AMENDMENT ARMORY,
 a Florida profit corporation,
                               Plaintiffs,
v.
BUREAU OF ALCOHOL, TOBACCO,
FIREARMS AND EXPLOSIVES, STEVEN
DETTELBACH, in his official capacity as
Director of the Bureau of Alcohol, Tobacco,
Firearms, and Explosives, UNITED STATES
DEPARTMENT OF JUSTICE, and
MERRICK B. GARLAND, in his official
capacity as Attorney General, U.S.
Department of Justice,
                               Defendants.
____________________________________/
                NOTICE OF APPEARANCE OF COUNSEL
      Pursuant to Local Rule 2.02, Matthew Larosiere, Esq. hereby gives

notice of his appearance as lead counsel for Plaintiffs in the above captioned

matter. Zachary Z. Zermay, Esq. gives his notice as co-counsel for Plaintiffs.




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Respectfully Submitted,


                          DATED: February 1, 2023


___________________________               ___________________________
Matthew Larosiere, Esq.                   Zachary Z. Zermay, Esq.
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Lead Counsel for Plaintiffs               Counsel for Plaintiffs



                      CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 9, 2023 I electronically filed
the foregoing document with the Clerk of the Court using CM/ECF. I also
certify that the foregoing document is being served this day on all counsel of
record via transmission of Notices of Electronic Filing generated by CM/ECF.

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                                    Zachary Z. Zermay, Esq.




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